                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                CIVIL NO. 3:18cv646-DSC

UNITED STATES OF AMERICA              )
                                      )
                                      )
       v.                             )            ORDER
                                      )
APPROXIMATELY $252,140.00 IN US       )
CURRENCY SEIZED FROM DARREN           )
                                      )
LENNARD COLEMAN ON JUNE 27, 2016 )
AT CHARLOTTE-DOUGLAS                  )
                                      )
INTERNATIONAL AIRPORT                 )
.
     THIS MATTER comes before the Court on the Government’s Motion for Entry of Default

Judgment (Doc. No. 55). Having considered the Motion and the pleadings, the Court GRANTS

the Motion and ORDERS as follows:

       IT IS HEREBY ORDERED THAT Judgment by Default is entered against all persons

in the world not having filed a claim in this action as the to the following property:

              $126,070 in United States Currency seized from Darren Leonard Coleman on
               June 27, 2016 at Charlotte-Douglas International Airport.

       IT IS FURTHER ORDERED THAT all right, title and interest in the following property,

whether real, personal, mixed, has therefore been forfeited to the United States for disposition

according to law:

              $126,070 in United States Currency seized from Darren Leonard Coleman on
               June 27, 2016 at Charlotte-Douglas International Airport.

       SO ORDERED.

                                Signed: April 15, 2021




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